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                                                                                        filed
                                                                                    IN CLERK'S OFFICE
                                                                               U.S. DISTRICT COURT EX).N.Y.
   UNITED STATES DISTRICT COURT                                                ★     MAY 20 2019
  EASTERN DISTRICT OF NEW YORK
                                                               X               LONG ISLAND OFFICE
   LONG BEACH ROAD HOLDINGS,LLC,                                       JOINT STIPULATION OF
                                                                        DISMISSAL             WITH
                                         Plaintiff,                    PREJUDICE

                  -against-
                                                                       2:14-cv-0180I-ADS-ARL
   FOREMOST INSURANCE COMPANY,ET AL,

                                         Defendant-
                                                               X


         NOW INTO COURT, through undersigned counsel comes Plaintiff, LONG BEACH

  ROAD HOLDINGS, LLC ("Long Beach"), and Defendant, FOREMOST INSURANCE

  COMPANY ("Foremost"). Foremost appears in its capacity as a Write-Your-Own ("WYO")

  Program carrier participating in the United States government's National Flood Insurance Program

  ("NFIP"), pursuant to the National Flood Insurance Act of 1968 ("NFIA"), as amended, and

  appearing herein in its "fiduciary" capacity as the "fiscal agent of the United States." Hereinafter,

  Plaintiffs and Defendant are referred to as the "Parties."


         The Parties hereby agree and stipulate to the Plaintiffs' dismissal of all claims against

  Foremost, with prejudice. The Parties further hereby agree and stipulate to Defendant's dismissal

  of all counter-claims against Long Beach, with prejudice. Each party will bear its own costs.


         WHEREFORE, Plaintiff, Long Beach Road Holdings, LLC and Defendant, Foremost

  Insurance Company, pray that all claims asserted by each Party be dismissed, with prejudice, each

  party to bear its own costs.

  Dated: New York, New York
         May 19,2019.
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                                The Law Offices of Michael J. Mauro, Esq., PC
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                                And


                                MARONEY O'CONNOR LLP
                                Counselfor Defendant, Foremost Insurance Company
                                /s/James P. O'Connor
                                11 Broadway, Suite 831
                                New York, NY 10004




   Case closed. SO ORDERED,


   /s/ Arthur D. Spatt
                                                                   Wif
   Arthur
     rthur D. Spatt, U.S.D.J.                                     Date
